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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.:      19-mc-36

SAMUEL KATZ, ALEXANDER BRAURMAN, and LYNNE RHODES, individually and on
behalf of all others similarly situated,

        Petitioners,

v.

STARTEK, INC., and StarTek USA, Inc., Delaware and Colorado corporations,

        Respondents.


     PETITIONERS’ MOTION TO COMPEL COMPLIANCE WITH THEIR SUBPOENA


I.      Procedural Background to Petitioners’ Subpoena

        Samuel Katz, Alexander Braurman, and Lynne Rhodes are plaintiffs in the case captioned

Katz v. Liberty Power Corp., LLC, No. 18-10506, pending in United States District Court for the

District of Massachusetts (“Plaintiffs”). (See Katz v. Liberty Power Corp., LLC, No. 18-10506,

Second Amended Class Action Complaint (D. Mass. Nov. 14, 2018), ECF No. 109.)

        Plaintiffs allege the defendants in the underlying action, Liberty Power Corp., LLC and

Liberty Power Holdings, LLC (collectively, “Defendants”), and/or their agents violated various

provisions of the Telephone Consumer Protection Act, 47 U.S.C. § 227, and its implementing

regulations (including 47 C.F.R. § 64.1200) (“TCPA”). Defendants have indicated Mezzi

Marketing LLC (“Mezzi”) was one of Defendants’ telemarketers who placed telemarketing calls

to Plaintiffs that are at issue in the Katz action. (Preston Decl. ¶6.) On February 27, 2019, the

court for the underlying case in Massachusetts set a deadline for the “parties [to] complete

discovery relevant to the alleged TCPA violations committed against the named Plaintiffs by




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May 22, 2019.”1 (Katz v. Liberty Power Corp., LLC, No. 18-10506, Order (D. Mass. Feb. 27,

2019), ECF No. 125.)

        On April 3, 2019, Plaintiffs served a subpoena (“Subpoena”) on StarTek, Inc. and

StarTek USA, Inc. (“StarTek”) for various documents, including documents related to (1) calls

that Mezzi made for Defendants and (2) calls Defendants or their telemarketers made to

Plaintiffs’ telephone numbers.2 (Id. ¶8.) The Subpoena’s production deadline was April 19. (Id.)

Plaintiffs need these documents to prove Defendants’ telemarketers called Plaintiffs, and to

ensure the integrity of Defendants’ own document production and filling in any missing

documents from that production. The Subpoena seeks other documents about lost evidence and

communications about the Subpoena itself, to ensure the integrity of StarTek’s production. See

Fed. R. Civ. P. 26 advisory committee’s notes for 2015 amendment (evidence on “existence,

description, nature, custody, condition, and location of [relevant] documents” is discoverable).

        On April 22, 2019, StarTek contacted Plaintiffs’ counsel, acknowledging a production on
1
    On August 17, 2018, the Defendants moved to bifurcate discovery. (Katz v. Liberty Power
    Corp., LLC, No. 18-10506, Defendants’ Motion to Bifurcate Individual and Class Discovery
    (D. Mass. Aug. 17, 2018), ECF No. 67.) In their motion, the Defendants expressly excluded
    Plaintiffs’ third-party discovery from bifurcation: “Defendants are not seeking any
    restriction on Plaintiffs’ use of third-party discovery, including subpoenas.” (Id. at 15)
    On February 27, 2018, the court in the underlying case granted Defendants’ motion to
    bifurcate discovery. (Katz v. Liberty Power Corp., LLC, No. 18-10506, Order (D. Mass. Feb.
    27, 2019), ECF No. 125.) On April 11, 2018, the court in the underlying case entered an
    order clarifying the February 27 bifurcation order:
                 ECF No. [125], Memorandum and Order limits discovery to the issues pertaining
                 specifically to the individual plaintiffs, including the issues identified in the
                 bifurcation motion. This includes information available directly from the plaintiffs
                 and from their service providers. It does not include discovery on Defendants
                 overall implementation of Do-Not-Call policies or questions of agency. Summary
                 Judgment motions should be limited to issues that can be briefed based on that
                 level of discovery.
    (Katz v. Liberty Power Corp., LLC, No. 18-10506, Order (D. Mass. Apr. 11, 2019), ECF No.
    135.)
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    Some of these documents may also be relevant to Defendants’ agency relationship with
    Mezzi, to the extent that the bifurcation orders incorporates Defendants’ exclusion of any
    third-party discovery from bifurcation in their motion. See supra, at 2 n.1.


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the Subpoena “was due to you this past Friday 4/19,” and sought direction on the Subpoena. (Id.

¶9.) On April 23, StarTek’s in-house counsel emailed Plaintiffs’ counsel, acknowledging that

“the response date has already passed,” that he was “reviewing the subpoena and will respond as

necessary,” and alerting Plaintiffs that StarTek would contact Defendants about the Subpoena.

(Id.) On April 24, Plaintiffs’ counsel indicated that some delay on production was acceptable, but

that they had to meet the May 22 deadline in the underlying case. (Id. ¶10.) On April 26,

StarTek’s in-house counsel emailed to indicate that he was “working with [StarTek’s] team to

gather any responsive information.” (Id. ¶11.)

        On April 30, 2019, StarTek referred the matter to its outside counsel. (Id. ¶12.) On May

1, Plaintiffs’ counsel met and conferred telephonically with StarTek’s counsel, explained that the

Subpoena was necessary to fill in gaps in Defendants’ production, and again reiterated that

Plaintiffs could not afford to delay up until their May 22 deadline. (Id.) On May 3, StarTek’s

counsel advised that StarTek objected to the Subpoena:

                 StarTek objects to your clients’ subpoena as unduly burdensome. StarTek is a
                 third party, and the documents and data sought by the subpoena should be
                 obtained from Defendants in the normal course of discovery, including Third-
                 Party Defendant Mezzi Marketing. The view that Defendants have not met their
                 discovery obligations does not justify the burden the subpoena imposes on
                 StarTek. Without waiving this objection, StarTek agrees it will review available
                 records for documents potentially responsive to the subpoena. It is undertaking
                 that effort and will respond back shortly concerning the results of its review and
                 potentially responsive documents.

(Id. ¶13.) Plaintiffs’ counsel responded by advising that Plaintiffs would have to proceed to seek

relief from the Court. (Id.)

II.     StarTek’s Objections Are Waived and Lack Merit

        Waiver: At the outset, StarTek’s objection comes thirty (30) days after Plaintiffs served

the Subpoena, and fourteen (14) days after the Subpoena’s deadline for production. Under Rule




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45, objections to a subpoena “must be served before the earlier of the time specified for

compliance or 14 days after the subpoena is served.” Fed. R. Civ. P. 45(d)(2)(B). “‘Courts

generally have held that failure to object in writing to a subpoena duces tecum within the time

specified in this rule constitutes a waiver of objections.’” Amica Mut. Ins. Co. v. Whois Privacy

Prot. Serv., Inc., No. 12-00262, 2012 WL 1657728, *3 (D. Colo. May 11, 2012) (citing W. Res.,

Inc. v. Union Pac. R.R. Co., No. 00–2043, 2002 WL 1822425, at *1 (D. Kan. July 23, 2002)).

See also Wang v. Hsu, 919 F.2d 130, 131 (10th Cir. 1990) (waiver of objections to subpoena for

failure to object in a timely fashion). “[F]ailure to timely file an objection will result in a waiver

of the right to object to enforcement of the subpoena and of the right to recover costs of

production.” Angell v. Shawmut Bank Conn. Nat. Ass’n, 153 F.R.D. 585, 590 (M.D.N.C. 1994)

(quoted by McCabe v. Ernst & Young, LLP, 221 F.R.D. 423, 426 (D.N.J. 2004)).

        There are no good grounds to excuse waiver here. StarTek did not contact Plaintiffs until

after the Subpoena’s production date. Further, StarTek’s in-house counsel at least suggested

StarTek would comply with the Subpoena through at least April 30, while StarTek knew that

Plaintiffs face a May 22 discovery deadline. Objections served four days late have been ruled as

waived. Richter v. Mutual of Omaha Ins. Co., No. 06-011, 2006 WL 1277906, *3 (E.D. Wis.

May 5, 2006) (“objection [that] was filed four days late [was] deemed waived under [Rule]

45(c)(2)(B); citing Angell, 153 F.R.D. at 590).

        Undue Burden: StarTek’s objection to burden is waived, but it would lack merit even if

it was not waived. “If the objecting party claims that a subpoena is unduly burdensome, the

alleged burden must usually be established ‘by affidavit or other reliable evidence.’” Masters v.

Gilmore, No. 08-02278, 2009 WL 4016003, *4 (D. Colo. Nov. 17, 2009) (quoting Hertz v.

Luzenac Am., Inc., No. 04–1961, 2006 WL 994431, *12 (D. Colo. Apr. 13, 2006); citing Burton




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Mech. Contractors, Inc. v. Foreman, 148 F.R.D. 230, 233 (N.D. Ind. 1992)).

        Party Discovery: StarTek’s objection that Plaintiffs should obtain discovery from

Defendants is also incorrect. Plaintiffs have been unable to obtain complete discovery from

Defendants, and seek third-party discovery to help resolve some troubling discrepancies with

Defendants’ production. (Preston Decl. ¶¶6-7.) Indeed, Defendants’ motion on bifurcation

expressly excluded third-party discovery from the limits placed on first-party discovery. (Katz v.

Liberty Power Corp., LLC, No. 18-10506, Defendants’ Motion to Bifurcate Individual and Class

Discovery (D. Mass. Aug. 17, 2018), ECF No. 67 at 15.)

        StarTek’s status as a third party does not excuse it from complying with a valid subpoena.

“The administration of justice would not be aided . . . by a rule relieving [third parties] from

giving particular evidence on the sole ground that they are not parties to the suit.” Truswal Sys.

Corp. v. Hydro-Air Eng’g, Inc., 813 F.2d 1207, 1210 (Fed. Cir. 1987).

                  [T]here is no general rule that plaintiffs cannot seek nonparty discovery of
                 documents likely to be in defendants' possession. . . . [I]n appropriate
                 circumstances, production from a third party will be compelled in the face of an
                 argument that the “same” documents could be obtained from a party, because
                 there is reason to believe that the files of the third party may contain different
                 versions of documents, additional material, or perhaps, significant omissions.

Viacom Int’l, Inc. v. YouTube, Inc., No. 08-80129, 2008 WL 3876142, *2-3 (N.D. Cal. Aug. 18,

2008) (quoting Visto Corp. v. Smartner Info. Sys., Ltd., Nos. 06-80339, 2007 WL 218771, *3

(N.D. Cal. Jan. 29, 2007); compelling compliance with subpoena where there was no “reason to

believe that [defendant] retained all communications and documents shared” with witness

receiving subpoena). See also Ambu, Inc. v. Kohlbrat & Bunz Corp., No. 99-20, 2000 WL 17181,

*7 (W.D.N.C. Jan. 6, 2000) (subpoena enforced where plaintiffs did “seek [subpoenaed]

information from a party before resorting to third parties,” but “the answers received were

incomplete and evasive”). While Plaintiffs would have also preferred to obtain these documents



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from Defendants in the first place, that is not a viable option.

III.    Plaintiffs Seek Relief

        Plaintiffs ask the Court to compel StarTek to produce all documents responsive to the

Subpoena (including its communications with Defendants) no later than May 22, and to certify

(on personal knowledge) that StarTek’s production is complete, or to explain the extent of any

documents that StarTek is unable to produce, and the reason it is unable to produce the same.


Dated: May 3, 2019                     By: /s/ Steven L. Woodrow
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